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 4
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 5
 6
 7
 8                         UNITED STATES DISTRICT COURT
 9                       CENTRAL DISTRICT OF CALIFORNIA
10
11    MARISELLA MACIAS                    )              CV
                                          )
12                      Plaintiffs,       )              COMPLAINT FOR DAMAGES
                                          )
13                      v.                )              1. Violation of Civil Rights (42
                                          )                  U.S.C. §1983)
14    CITY OF FULLERTON, Corporal JOSEPH )
      ZUNIGA, individually and as a peace )              2. Monell Claim (42 U.S.C.
15    officer, DOES 1-10, inclusive.      )                 §1983)
                                          )
16                      Defendants.       )              3. False Imprisonment
      __________________________________ )               4. Intentional Infliction of
17                                        )                 Emotional Distress
                                          )              5. Negligent employment,
18                                        )                  retention, supervision
                                          )              6. Banes Civil Rights CC § 52.1
19                                        )              7. Negligence
                                          )
20                                        )
                                          )              DEMAND FOR JURY TRIAL
21
22                                     JURISDICTION
23          1.     Jurisdiction of this court is invoked under 28 U.S.C. §§ 1343, (1), (2),
24    (3) and (4). This action at law for money damages arises under Title 42 U.S.C.
25    Section 1983 and the United States Constitution, the laws of the State of California
26    and common law principles to redress a deprivation under color of state law of rights,
27    privileges and immunities secured to Plaintiff by said statutes, and by the First,
28    Fourth, and Fourteenth Amendments of the United States Constitution.

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 1               ALLEGATIONS COMMON TO ALL CAUSES OF ACTION
 2          2.       At all times herein mentioned, Plaintiff was a residents of the County
 3    of San Bernardino, City of Ontario, State of California.
 4
 5          3.       At all times herein mentioned, Defendants Corporal JOSEPH ZUNIGA
 6    and DOES 1-10, inclusive were and are employees of the FULLERTON POLICE
 7    DEPARTMENT acting under the color of law.
 8
 9          4.       Defendant CITY OF FULLERTON (hereinafter referred to as "CITY")
10    is and at all times herein mentioned has been a public entity and an incorporated
11    county duly authorized and existing as such in and under the laws of the State of
12    California; and at all times herein mentioned, Defendant CITY has possessed the
13    power and authority to adopt policies and prescribe rules, regulations and practices
14    affecting the operation of the FULLERTON POLICE               DEPARTMENT, and
15    particularly said Department's Patrol, Internal Investigations and Training and
16    Personnel Divisions and other operations and subdivisions presently unidentified to
17    Plaintiffs, and their tactics, methods, practices, customs and usages.
18
19          5.       Plaintiff is informed and believe and thereon alleges that each of the
20    Defendants designated as a DOE is intentionally and otherwise responsible in some
21    manner for the events and happenings herein referred to, and thereby proximately
22    caused injuries and damages as herein alleged. The true names and capacities of
23    DOES 1 through 10, inclusive, and each of them, are not now known to Plaintiff who
24    therefore sues said Defendants by such fictitious names. Plaintiff will amend this
25    Complaint in accordance with FRCP 15 and California Code of Civil Procedure
26    Section 474 to show their true names and capacities when same have been
27    ascertained.
28


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 1          6.     Defendants, and each of them, did the acts and omissions hereinafter
 2    alleged in willful bad faith and with advance knowledge that their conduct violated
 3    well established constitutional law and statutes.
 4
 5          7.     The incidents complained of began in the City of Fullerton October 12-
 6    13, 2018 at or near 101 W. Commonwealth Ave. known as JP23, a “sports bar.”
 7    Plaintiff attended JP 23 for the first time with two girlfriends at approximately 10pm.
 8    Shortly after 11 pm, Latoya Reniero was assaulted by an unidentified female while
 9    dancing. Plaintiff and Celia Lopez had no part in the “fight.” Bouncers grabbed both
10    parties and hustled them out the same front door while directing Plaintiff and Ms.
11    Lopez to go with her friend Latoya. By the time Plaintiff and Ms. Lopez had exited,
12    Latoya and the unidentified aggressor who started the fighting continued outdoors
13    until Fullerton Police arrived, including Defendant Cpl Joseph Zuniga. Latoya had
14    her back to Plaintiff and Ms. Lopez while seated on the curb being controlled by
15    Zuniga. Plaintiff approached attempting to ask Latoya if she was ok but Defendant
16    Zuniga shined his flashlight at her and angrily addressed Plaintiff “are you
17    involved?” Plaintiff did not immediately respond which apparently displeased
18    Zuniga. Zuniga suddenly and without warning reached out, forcibly grabbed Plaintiff
19    and threw Plaintiff to the pavement, causing injuries on the right side of her body
20    from head to toe. Stunned by Zuniga’s assault, Plaintiff began to cry from pain and
21    fear when approached by FPD officer Turner who indicated he’d seen what Zuniga
22    had done to Plaintiff and apologized the her while helping plaintiff to her feet. Turner
23    questioned Plaintiff about what had happened inside JP23 before his arrival. Plaintiff
24    and witness Ms. Lopez recounted Latoya had been assaulted by another female on
25    the dance floor and a fight broke out. Plaintiff attempted to identify Latoya’s
26    assailant but realized she was not being detained and was no longer on scene.
27    Plaintiff showed Officer Turner her injuries caused by Zuniga and demanded
28    Zuniga’s name and badge number. Zuniga approached without identifying himself

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 1    and announced Latoya was being taken to jail and “it was over.” Still injured and in
 2    pain, Plaintiff was instructed to collect Latoya’s purse and property which were left
 3    at the scene and then drove herself home, photographed her own injuries and sought
 4    and received medical treatment.
 5
 6          8.     Approximately 7 hours after being assaulted, Plaintiff and witness
 7    Lopez returned to the Fullerton Police Department to lodge a complaint against
 8    Defendant Zuniga with a Sgt. Clyde. Clyde represented he was receiving Plaintiff’s
 9    complaint and summoned a female officer to photograph Plaintiff’s wounds as
10    “evidence.” Clyde obtained Plaintiff’s statement but not witness Lopez’s.
11    Although required by California Penal Code §832.5 and FPD policy, no actual
12    internal administrative complaint investigation was undertaken in response to
13    Plaintiff’s complaint. Not until Plaintiff wrote directly to the Interim Chief of Police,
14    the mayor and city council members in January 2019 demanding action be taken on
15    her 3 month old complaint was an internal investigation initiated by a Sgt. Craft.
16    Without ever contacting known percipient witnesses or reviewing Plaintiff’s medical
17    records identified to Sgt. Craft, on March 20, 2019, Captain Rhonda Cleggett on
18    behalf of the Interim Chief and City wrote to Plaintiff informing her that Plaintiff’s
19    complaint that Cpl Zuniga had assaulted her for no valid reason and thereby used
20    unreasonable and unwarranted force upon a person being arrested-- in violation of
21    FPD regulation 340.5.9(b)--was unfounded, (meaning the complaint was false)
22    despite the conclusion that the investigation “clearly established the alleged acts
23    occurred.” In accordance with the custom and practice of the FPD, Captain Cleggett
24    falsely asserted Cpl Zuniga’s intentional attack was “justified, lawful and/or proper”
25    when it clearly and objectively was not. As a result, Cpl Zuniga has suffered the just
26    consequences of his violent and corrupt misconduct, once again shielding said
27    defendant from accountability for his felonious wrongdoing, all in accordance with
28    long standing FPD custom, policy and practice.

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 1                               FIRST CAUSE OF ACTION
 2          (VIOLATION OF FEDERAL CIVIL RIGHTS -UNREASONABLE
 3          DETENTION & SEIZURE, EXCESSIVE FORCE, FALSE
 4          IMPRISONMENT, DUE PROCESS, EQUAL PROTECTION AND
 5          CONSPIRACY - 42 U.S.C. § 1983)
 6                    (By Plaintiff Against All Individual Defendants)
 7          9.     Plaintiff refers to and replead each and every allegation contained in
 8    paragraphs 1 through 8 of this complaint, and by this reference incorporates the same
 9    herein and makes each a part hereof.
10
11          10.    This action at law for money damages arises under Title 42 U.S.C. §
12    1983 and the United States Constitution, the laws of the State of California and
13    common law principles to redress a deprivation under color of state law of rights,
14    privileges and immunities secured to Plaintiff by said statutes, and by the First,
15    Fourth, and Fourteenth Amendments of the United States Constitution.
16
17          11.    Commencing at or about the aforementioned date and place, without
18    lawful cause or justification, and acting under color of law, Defendants Cpl JOSEPH
19    ZUNIGA and DOES 1-10 and each of them, intentionally and maliciously deprived
20    Plaintiff of rights secured to her against unreasonable detention, unreasonable
21    seizure, retaliatory police action and unreasonable and unjustified force by the First,
22    Fourth, and Fourteenth Amendments to the United States Constitution.
23
24          12.    Defendants, and each of them, entered into a meeting of minds to falsely
25    and corruptly cover up and excuse Cpl ZUNIGA’s unjustified violence against
26    Plaintiff and each carried out and perpetrated the mutually supportive unlawful
27    conspiracy to deprive Plaintiff of her rights against unreasonable searches and
28    seizures and due process by coming to a meeting of minds by participating in a

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 1    mutually supportive, willfully corrupt effort to shield Cpl ZUNIGA from
 2    accountability for his unconsitutional misbehavior supported by defendants.
 3    Defendants, and each of them, engaged in multiple acts in furtherance of said
 4    conspiracy by making wilful and materially false statements to investigator Sgt. Craft
 5    and others.
 6
 7           13.    As a proximate result of the aforesaid acts and omissions of Defendants,
 8    and each of them, Plaintiff sustained great physical and mental pain, together with
 9    shock to her nervous system, great fear, anxiety, torment, degradation and emotional
10    distress.
11
12           14.    By reason of the aforementioned acts and omissions of Defendants, and
13    each of them, Plaintiff incurred medical, therapeutic, legal, investigative and other
14    expenses in an amount as proved.
15
16           15.    In addition, by reason of the aforementioned acts and omissions of
17    Defendants, and each of them, Plaintiff was kept from attending to her usual
18    occupation, and has suffered loss and impairment of earnings and employment
19    opportunities all to their damage in an amount as proved.
20
21           16.    By reason of the aforementioned acts of Defendants, and each of them,
22    Plaintiff was compelled to secure the services of an attorney at law to redress the
23    wrongs hereinbefore mentioned and by virtue thereof, Plaintiff is indebted and liable
24    for attorneys fees.
25
26           17.    The aforementioned acts and omissions of Defendants were committed
27    by each of them knowingly, wilfully and maliciously, with the intent to harm, injure,
28    vex, harass and oppress Plaintiff and/or with conscious disregard of Plaintiff’s

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 1    constitutional rights. By reason thereof, Plaintiff seeks punitive and exemplary
 2    damages from Defendants, and each of them, (except Defendant CITY) in an amount
 3    as proved.
 4                             SECOND CAUSE OF ACTION
 5        (UNLAWFUL CUSTOM AND PRACTICE UNDER SECTION 1983)
 6                          (By Plaintiff Against Defendant City)
 7            18.   Plaintiff refers to and repleads each and every allegation contained in
 8    paragraphs 1 through 17 of this complaint, and by this reference incorporates the
 9    same herein and makes each a part hereof.
10
11            19.   Defendant CITY is and at all times herein mentioned has been a public
12    entity and an incorporated municipality duly authorized and existing as such in and
13    under the laws of the State of California; and at all times herein mentioned,
14    Defendant CITY, possessed the power and authority to adopt policies and prescribe
15    rules, regulations and practices affecting the operation of the FULLERTON POLICE
16    DEPARTMENT and its tactics, methods, practices, customs and usages related to
17    internal investigations, personnel supervision and records maintenance, and the
18    proper uses of force by its rank and file, generally.
19
20            20.   At all times herein mentioned, defendants CPL JOSEPH ZUNIGA and
21    DOES 1-10, were employees acting under the CITY'S direction and control, who
22    knowingly and intentionally promulgated, maintained, applied, enforced and suffered
23    the continuation of policies, customs, practices and usages in violation of the First,
24    Fourth, and Fourteenth Amendments respectively to the United States Constitution,
25    which customs, policies, practices and usages at all times herein mentioned deployed,
26    retained and assigned persons as peace officers who have repeatedly demonstrated
27    their    propensities for unreasonable force, physical and emotional brutality,
28    dishonesty including false accusations of crime, willfully false and misleading

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 1    statements to internal investigators, bigotry, and numerous other serious abuses of
 2    their duties as peace officers in the employment of the CITY.
 3
 4          21.    Defendant CITY knowingly maintains and permits official sub-rosa
 5    policies or customs of permitting the occurrence of the kinds of wrongs set forth
 6    above, by deliberate indifference to historically widespread police abuses, including
 7    but not limited to unlawfully arresting and booking citizens for allegedly violating
 8    Penal Code Sections 148, 243, 69, among others, intentionally failing and refusing
 9    to fairly and impartially investigate, discipline or prosecute peace officers who
10    commit acts of felonious dishonesty and crimes of violence, each ratified and
11    approved by Defendant CITY and its various Chiefs of Police prior to and since
12    October 12, 2018 as was revealed by OIR Group and Michael Gennaco following the
13    death of Kelly Thomas at the hands of Fullerton Police Department employees July
14    5, 2011. OIR and Gennaco published a 56 page Systemic Report, followed by a
15    published interim report and a third confidential administrative report condemning
16    FPD’s pervasive refusal to enforce its own rules and regulations and California law
17    relating to officer misconduct, particularly with respect to excessive force, false
18    reports and fabricated probable cause, together with FPD’s historical turning of
19    blind eyes to officer misconduct and the systemic, institutional refusal to discipline
20    any officers engaged in unlawful conduct.
21
22          22.    The unconstitutional policies, practices or customs promulgated,
23    sanctioned or tolerated by defendant CITY include, but are not limited to:
24                 (1)   Defendant CITY had knowledge, prior to and since this
25          incident, of repeated allegations of abuse and assaultive misconduct
26          toward detainees and arrestees; Specifically, CITY knew Defendants
27          Cpl Joseph Zuniga and DOES 1-10, had prior to and since October 12,
28          2018 committed similar acts of violence, dishonesty, corruption and

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 1          abuses while purporting to act under the authority of their offices; CITY
 2          and FPD knew Defendant ZUNIGA had unlawfully assaulted, injured,
 3          falsely accused and arrested persons yet continued to promote ZUNIGA
 4          to Corporal; offered employment to ZUNIGA with knowledge of his
 5          unfitness unconvered in background investigations of Defendants
 6          ZUNIGA and DOES 1-10 which among other things, revealed admitted
 7          dishonesty, proven commission of crimes and acts of moral turpitude,
 8          acts of violence, false and misleading responses to background
 9          questionnaires, skipped polygraphs, and other indicia of moral and
10          ethical unfitness to employment as peace officers.
11                (2)    Defendant CITY had knowledge, prior to and since this
12          incident, of similar allegations of abuse and dishonesty by Defendants,
13          and refused to enforce established administrative procedures to insure
14          the safety of detainees and arrestees as reported by OIS and Gennaco;
15                (3)     Defendant CITY persistently refused to adequately
16          discipline individual officers and employees found to have committed
17          acts of abuse and misconduct as reported by OIS and Gennaco;
18                (4)    Defendant CITY persistently refused to competently and
19          impartially investigate allegations of abuse and misconduct alleged to
20          have been committed by FULLERTON POLICE DEPARTMENT
21          officers and employees as reported by OIS and Gennaco;
22                (5)    Defendant CITY reprimanded, threatened, intimidated,
23          demoted and fired officers who reported acts of wrongdoing and abuses
24          by other officers, including, but not limited to Benjamin Lira;
25                (6)    Defendant CITY participated in cover-up acts of
26          misconduct, criminal violations and abuses by FULLERTON POLICE
27          DEPARTMENT officers and sanctioned a code of silence by and
28          among officers as reported by OIS and Gennaco and conceded by

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 1           department officials during OIS and Gennaco’s investigations;
 2                 (7)    Defendant CITY knew of and sanctioned the custom and
 3           practice of falsely arresting, booking and charging victims of officer
 4           abuse with violations of California Penal Code Sections 69, 148, 243,
 5           415, 647(f), among others.
 6                 (8)    Defendant CITY failed to adequately train and educate
 7           officers in the principals of reasonable cause to take a person's freedom,
 8           the use of reasonable and proper uses of force and repeatedly failed to
 9           enforce the department's written regulations with respect to uses of
10           force as was the case with Plaintiff along with lawless arrests as
11           disclosed by OIS and Gennaco’s reports;
12                 (9)    Defendant CITY failed to adequately supervise the actions
13           of officers under FPD's control as revealed by OIS and Gennaco;
14                 (10) Defendant CITY, condoned and participated in the practice
15           of prosecuting groundless criminal charges for the purpose of insulating
16           FULLERTON POLICE DEPARTMENT and its officers from civil
17           liability and reducing or dismissing criminal charges against individuals
18           in return for releasing them from civil liability;
19                 (11) Defendant CITY condones and encourages a conspiracy of
20           silence among its law enforcement sworn and unsworn employees for
21           the purpose of concealing and furthering wrongful and illegal conduct
22           by its police department employees;
23                 (12) Defendant CITY engage in the custom and practice of
24           refusing to provide public prosecutors and criminal defendants
25           exculpatory and impeaching evidence as required by law, including but
26           not limited, to City surveillance video recordings, body worn cameras
27           (BWC) and evidence obtained from third parties unfavorable to FPD
28           officers.

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 1                   (13) Defendant CITY fostered and encouraged an atmosphere
 2             of lawlessness, abuse and misconduct, which before, on and after
 3             October 12, 2018 represented the unconstitutional policies, practices
 4             and customs of the CITY and FULLERTON POLICE DEPARTMENT.
 5
 6             23.   By reason of the aforesaid policies, customs, practices and usages,
 7     plaintiffs rights under the First, Fourth, and Fourteenth Amendments to the United
 8     States Constitution were invaded and deprived.
 9                                THIRD CAUSE OF ACTION
10                                 (FALSE IMPRISONMENT)
11                   (By Plaintiff Against CITY, ZUNIGA and DOES 1-10)
12             24.   Plaintiff refers to and repleads each and every allegation contained in
13     paragraphs 1 through 23 of this complaint, and by this reference incorporates the
14     same herein and makes each a part hereof.
15
16             25.   Plaintiff timely filed her claim for damages with the Clerk of the City
17     of Fullerton on February 25, 2019. Said claim was rejected by letter dated May 7,
18     2019.
19             26.   On October 12-13, 2018 Plaintiff was unlawfully seized, forcibly
20     detained without reasonable suspicion and arrested without probable cause. Said
21     imprisonment was conducted intentionally, without warrant or order of commitment
22     or any legal authority of any kind as Plaintiff had not committed any crime or public
23     offense.
24             27.   As a proximate result of the acts of Defendants, and all of them, Plaintiff
25     has suffered economic and non economic damages including to her professional
26     reputation and shame, humiliation and embarrassment in the community.
27             28.   As a direct and proximate result of the foregoing, Plaintiff has been
28     damaged as recited above and demands and is entitled to the damages recited in the

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 1     First Cause of Action, including, but not limited to, general, special and punitive
 2     damages.
 3                               FOURTH CAUSE OF ACTION
 4             INTENTIONAL INFLICTION OF EMOTIONAL DISTRESS
 5           (By Plaintiff Against Defendants CITY, CPL ZUNIGA, and DOES
 6           1-10)
 7
 8           29.     Plaintiff refers to and repleads each and every allegation contained in
 9     paragraphs 1 through 28 of this complaint, and by this reference incorporates the
10     same herein and makes each a part hereof.
11
12           30.     On or about the aforesaid dates, and thereafter, Defendants CITY,
13     ZUNIGA and DOES 1-10 and each of them, unlawfully, intentionally and
14     maliciously caused Plaintiff to be violently seized, searched and arrested causing
15     physical and mental injuries for no discernable or other justifiable cause and
16     exacerbated her emotional distress by initially refusing to act on her complaint
17     seriously and investigate her charges impartially and willfully cover up and exonerate
18     ZUNIGA’s reckless, intentional wrongdoing with the purpose and intention or in
19     reckless disregard of the consequences of their actions causing Plaintiff severe
20     emotional distress or in callous disregard thereof.
21
22           31.     In doing the aforementioned, Defendants' conduct was intentional,
23     outrageous, malicious, and done for the purpose of causing, or in reckless disregard
24     of causing, Plaintiff to suffer emotional suffering and mental distress, fear, anxiety,
25     and mental anguish.
26
27           32.     As a direct and proximate result of the foregoing, Plaintiff has suffered,
28     and continues to suffer, mental and emotional distress and are entitled to and demand

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 1     damages against Defendants jointly and severally, as recited in the First Cause of
 2     Action, including, but not limited to general and punitive damages against ZUNIGA
 3     and DOES 1-10.
 4                                FIFTH CAUSE OF ACTION
 5             NEGLIGENT EMPLOYMENT/RETENTION/SUPERVISION
 6                          (By Plaintiff Against CITY, DOES 6-10)
 7           33.    Plaintiff refers to and repleads each and every allegation contained in
 8     paragraphs 1 through 32 of this complaint, and by this reference incorporates the
 9     same herein and makes each a part hereof.
10
11           34.    On or about October 12, 2018 and for some uncertain time prior thereto,
12     Defendants CITY and DOES 6-10 knew or in the exercise of due care should have
13     known, that Defendants ZUNIGA and DOES 1-5, and each of them, had a
14     propensity, character trait, and practice, for dishonesty, prevarication and the abuse
15     of their positions as employees of the Fullerton Police Department and the City of
16     Fullerton.
17
18           35.    At all times mentioned herein, Defendants CITY and DOES 6-10 knew
19     or in the exercise of due care should have known, that the afore described traits of
20     character, practices and propensities of Defendant ZUNIGA and DOES 1-5, and each
21     of them, made them unfit to serve as employees of the Fullerton Police Department
22     and City of Fullerton and were likely to cause harm and injury to members of the
23     public, including the plaintiff.
24
25           36.    Notwithstanding such knowledge, Defendants CITY and DOES 1-5,
26     negligently, carelessly and recklessly, hired, employed, retained and failed to
27     properly supervise, train and control Defendants ZUNIGA and DOES 1-5, and each
28     of them, inclusive, as employees and assigned said Defendants to duties which

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 1     enabled each of them to seize and physically injure then cover up illegal detentions,
 2     arrests, fabricate probable cause and crimes of totally innocent persons of which the
 3     plaintiff was one.
 4           37.    As a direct and proximate result of the foregoing, Plaintiff has been
 5     damaged as recited above and demands and is entitled to the damages recited in the
 6     First Cause of Action.
 7                                SIXTH CAUSE OF ACTION
 8                 VIOLATIONS OF CALIFORNIA CIVIL CODE §52.1
 9           (By Plaintiff Against Defendants CITY, ZUNIGA, DOES 1-5)
10           38.    Plaintiff refers to and repleads each and every allegation contained in
11     paragraphs 1 through 37 of this complaint, and by this reference incorporates the
12     same herein and makes each a part hereof.
13
14           39.    On or about the above stated dates, and sometime prior thereto,
15     Defendants and each of them violated Plaintiff's civil rights, guaranteed by the
16     United States Constitution, federal law, the California Constitution and the laws of
17     the State of California by physical violence, threats, intimidation and/or coercion,
18     thereby violating California Civil Code Sections 52.1 and the right against physical
19     violence guranteed by Civil Code §43 by conducting themselves against the plaintiff
20     as described in paragraphs 6 through 9.
21
22           40.    As a proximate result of the aforementioned acts of Defendants, and
23     each of them, Plaintiff suffered damage in a sum according to proof, and is entitled
24     to the damages, statutory damages, treble damages, attorney's fees and costs provided
25     for by Civil Code section 52.1.
26                              SEVENTH CAUSE OF ACTION
27                                       NEGLIGENCE
28                          (By Plaintiff against Defendant City, Does 1-10)

                                                 14
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 1           41.   Plaintiff refers to and repleads each and every allegation contained in
 2     paragraphs 1 through 40 of this complaint, and by this reference incorporates the
 3     same herein and makes each a part hereof.
 4
 5           42.   Plaintiff is owed the duty by Defendant CITY and by its employees and
 6     agents to safeguard and insure against the careless and/or negligent acts and
 7     omissions of its employees pursuant to Government Code sections 815(a), 815.6,
 8     820(a) and Legtu v. California Highway Patrol (2001) 26 Cal.4th 703, 715, 110
 9     Cal.Rptr.2d 528.
10
11           43.   On dates and times presently unknown to Plaintiff, Defendant CITY
12     and its employees and agents breach their duty of care to the plaintiff by hiring,
13     retaining, supervising, and promoting Defendant ZUNIGA and DOES 1-5.
14
15           44.   As the proximate result of the negligence and breach of duty of care
16     owed Plaintiff, Plaintiff was damaged when seized and assaulted by defendant
17     ZUNIGA October 12-13, 2018.
18
19                                        PRAYER
20           WHEREFORE, Plaintiff prays judgment against Defendants and
21     each of them, as follows:
22           AS TO EACH CAUSE OF ACTION AS APPLICABLE
23           1.    For General damages according to proof;
24           2.    For Special damages according to proof;
25           3.    For Punitive damages as provided by law, in an amount to be proved
26                 against each individual Defendant;
27           4.    For attorney's fees pursuant to 42 U.S.C § 1988 and Civil Code 52.1(h);
28           5.    For Costs of suit;

                                              15
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 1           6.    For such other and further relief as the Court may deem proper.
 2
 3     DATED:      May 23, 2019              THE BECK LAW FIRM
 4
 5
 6                                           By /s/Thomas E. Beck
                                                 Thomas E. Beck
 7                                               Attorneys for Plaintiff
 8
 9                             PLAINTIFF'S JURY DEMAND
10
11           Plaintiff hereby demands a trial by jury.
12
13     DATED: May 23, 2019                   THE BECK LAW FIRM
14
15
                                             By /s/Thomas E. Beck
16                                               Thomas E. Beck
                                                 Attorneys for Plaintiff
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